                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                             EASTERN DIVISION

 UNITED STATES OF AMERICA,
               Plaintiff,                                 No. CR02-2030-LRR
 vs.                                               FINAL ORDER REGARDING
                                                    MOTION FOR SENTENCE
 PERCY RENDELL BRUCE, JR.,
                                                   REDUCTION PURSUANT TO
               Defendant.                             18 U.S.C. § 3582(c)(2)

                            ____________________________

       This matter is before the court pursuant to its July 23, 2008 order. In such order,
the court, among other things, discussed several amendments to the Guidelines Manual,
including Amendment 706 and Amendment 715, and it stated:
              Having reviewed the defendant’s file, the provisions and
              commentary of USSG §1B1.10, the factors set forth in 18
              U.S.C. § 3553(a), the nature and seriousness of the danger to
              any person or community that may be posed by a reduction in
              the defendant’s term of imprisonment and the defendant’s post-
              sentencing conduct, the court preliminarily deems it
              appropriate to exercise its discretion and grant the defendant
              the maximum reduction permitted under 18 U.S.C. §
              3582(c)(2) and USSG §1B1.10.             After adjusting the
              defendant’s amended guideline range by the greatest extent
              possible pursuant to USSG §5K1.1, . . . the maximum
              reduction results in a new term of 120 months imprisonment
              on count 1.
The court also notified the parties that they needed to file written objections to the
proposed reduction to the defendant’s sentence and that, if neither party objected, an order
would be filed that makes final the new term of imprisonment.
       On August 12, 2008, the defendant filed a pro se objection to the court’s
preliminary order. In his objection, the defendant agrees that he is eligible for a sentence
reduction, and he acknowledges that he is subject to a statutorily required minimum


   Case 6:02-cr-02030-CJW-MAR          Document 385       Filed 08/19/08    Page 1 of 3
sentence, that is, a mandatory minimum of 120 months imprisonment. Although the
defendant recognizes that absent a motion pursuant to 18 U.S.C. § 3553(e) he is unable
to receive a sentence below the mandatory minimum, he contends that his attorney never
file a motion under 18 U.S.C. § 3553(e) and he asks the court to construe his objection as
a motion pursuant to 18 U.S.C. § 3553(e). Further, the defendant asked the court to
resolve his objection without appointing an attorney, and the defendant did not seek an
evidentiary hearing. With respect to the defendant’s objection, only the government is
able to file a motion under 18 U.S.C. § 3553(e); the defendant is not able to rely on such
statute. Because the government never relied on 18 U.S.C. § 3553(e), the court is unable
to go below the statutory mandatory minimum sentence of 120 months imprisonment on
count 1 of the indictment.
        Having resolved the defendant’s objection, the court, under 18 U.S.C. § 3582(c)(2),
grants a reduction in the defendant’s term of imprisonment. The defendant’s previously
imposed 136 month term of imprisonment, as reflected in the judgment dated September
26, 2003, is reduced to 120 months imprisonment.1 The defendant’s new term of 120
months imprisonment applies to count 1 of the indictment. Except as provided above, all
provisions of the judgment dated September 26, 2003 remain in effect. As previously
stated in the July 23, 2008 order and without a separate order from the court, the duration
and conditions of the defendant’s supervised release remain unchanged.



        1
         For purposes of the July 23, 2008 order and the instant order, the court relied on
the following determinations:
 Previous Offense Level:      32                      Amended Offense Level:       30

 Criminal History Category:   III                     Criminal History Category:   III

 Previous Guideline Range:    151 to 188 months       Amended Guideline Range:     121 to 151 months
The court previously imposed a term of imprisonment below the guideline range applicable
to the defendant at the time of sentencing as a result of a departure under USSG §5K1.1.
Consequently, the reduced term of 120 months imprisonment is comparably less than the
amended guideline range.

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   Case 6:02-cr-02030-CJW-MAR               Document 385          Filed 08/19/08         Page 2 of 3
       The Clerk of Court is directed to send a copy of this order to the Bureau of
Prisons, that is, the place where the defendant is currently incarcerated. The Clerk of
Court is also directed to send a copy of this order to the defendant, USM No. 08812-029,
and the Federal Public Defender.
      IT IS SO ORDERED.
      DATED this 19th day of August, 2008.




                                           3

   Case 6:02-cr-02030-CJW-MAR        Document 385      Filed 08/19/08    Page 3 of 3
